The "Memorandum Decision" from which this appeal is taken is not a final appealable order pursuant to R.C. 2505.02 because the trial judge ordered counsel for the Pickaway County Department of Human Services to prepare an Entry consistent with his decision and it appears no Entry has been prepared or filed.
In that a court of appeals must, sua sponte, dismiss an appeal which is not from a final appealable order,Whitaker-Merrell v. Geupel Co. (1972), 29 Ohio St.2d 184, 186, this appeal is hereby DISMISSED. Appellant may again appeal when the matter below becomes a final appealable judgment.
Appeal Dismissed. Costs to appellant.
Abele, J. and Evans, J.:
Concur
                                _______________________________ Roger L. Kline, Presiding Judge